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 4
     Attorney for Defendant
 5   CHRISTINE CORSBIE
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 8
                                UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                  )     Case No. 08-CR-324 GEB
12                                              )
            Plaintiff,                          )     MOTION FOR CONTINUANCE
13                                              )     OF STATUS CONFERENCE;
                   vs.                          )     STIPULATION AND [PROPOSED]
14                                              )     ORDER; EXCLUSION OF TIME
     JOHN ALLEN LEE and                         )     UNDER SPEEDY TRIAL ACT
15   CHRISTINE CORSBIE,                         )
                                                )
16         Defendants.                          )
     _______________________________            )
17
                                              STIPULATION
18
            Plaintiff, United States of America, by and through its counsel, Assistant United
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     States Attorney William Wong, and defendants, John Allen Lee and Christine Corsbie, by
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     and through their counsel, Ron Peters and Erin J. Radekin, agree and stipulate to vacate the
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     existing status conference date in the above-captioned action, May 8, 2009 at 9:00 a.m., and
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     to continue the matter to May 29, 2009 at 9:00 a.m., for status conference in the courtroom of
23
     the Honorable Garland E. Burrell.
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            This continuance is requested by the defense and the prosecution to permit further
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     preparation of the plea agreement. The Court is advised that Mr. Wong and Mr. Peters
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     concur with the May 29, 2009 status conference date and have authorized Ms. Radekin to
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     sign this stipulation on their behalf.
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 1          The parties further agree and stipulate that the period for the filing of this stipulation
 2   until May 29, 2009, should be excluded in computing time for commencement of trial under
 3   the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(8)(B)(iv)
 4   and Local Code T4, to allow continuity of counsel and to allow reasonable time necessary for
 5   effective presentation. It is further agreed and stipulated that the ends of justice served in
 6   granting the continuance and allowing the defendant further time to prepare outweigh the
 7   best interests of the public and the defendants in a speedy trial.
 8          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 9   IT IS SO STIPULATED
10   Dated: May 7, 2009                                        /s/ WILLIAM WONG
                                                         WILLIAM WONG
11                                                       United States Attorney
12   Dated: May 7, 2009                                        /s/ ERIN J. RADEKIN
                                                         ERIN J. RADEKIN
13                                                       Attorney for Defendant
                                                         CHRISTINE CORSBIE
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     Dated: May 7, 2009                                        /s/ RON PETERS
15                                                       RON PETERS
                                                         Attorney for Defendant
16                                                       JOHN ALLEN LEE
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 1                            ORDER FINDING EXCLUDABLE TIME
 2          For the reasons set forth in the accompanying stipulation and declaration of counsel,
 3   the status conference in the above-entitled action is continued to May 29, 2009 at 9:00 a.m.
 4   The court finds excludable time in this matter from May 8, 2009 through May 29, 2009,
 5   under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and
 6   to allow reasonable time necessary for effective presentation. For the reasons stipulated by
 7   the parties, the Court finds that the interest of justice served by granting the requested
 8   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
 9   U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
10   IT IS SO ORDERED.
11   Dated: May 11, 2009
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13                                            GARLAND E. BURRELL, JR.
                                              United States District Judge
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